            Case 4:21-cv-00195-DCB   Document 1   Filed 05/05/21   Page 1 of 4



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 7
                   IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE DISTRICT OF ARIZONA
 9                           TUCSON DIVISION
10

11
     Ross Ulbricht,                         Case No.:
12
                 Plaintiff,
13
                                            ORIGINAL COMPLAINT
14   vs.
15
     Federal Bureau of Prisons,
16
                 Defendant.
17

18

19
                                I.    Introduction

20   1.    This suit is brought pursuant to the Religious Freedom
21
     Restoration Act (“RFRA”), which prohibits the federal government from
22

23   substantially burdening a person’s sincere exercise of religion unless
24
     that burden is supported by a compelling governmental interest and
25

26   applied through the least restrictive means. 42 U.S.C. § 2000bb, et seq.
27
     2.    Plaintiff Ross Ulbricht (“Ulbricht”) is a practicing Christian.
28
     ORIGINAL COMPLAINT - 1
            Case 4:21-cv-00195-DCB     Document 1   Filed 05/05/21   Page 2 of 4



 1   Ulbricht alleges that the Federal Bureau of Prisons’ (“BOP”) is
 2
     substantially burdening his exercise of religion because BOP refuses—
 3

 4   in violation of RFRA—to permit him to use TRULINCS to exchange e-
 5
     mail communication with his father.
 6

 7                                    II.   Parties
 8
     3.    Ross Ulbricht is an inmate incarcerated in federal prison. His
 9

10   federal register number is # 18870-111. His mailing address is FCI
11
     Tucson, P.O. BOX 24550, Tucson, AZ 85734.
12

13   4.    Defendant Federal Bureau of Prisons is a federal agency. Its
14
     mailing address is 320 First St. N.W., Washington, DC 20534.
15

16                                  III. Jurisdiction
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     5.    This Court has jurisdiction over Ulbricht’s RFRA claims under 28
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19
     U.S.C. § 1331.

20                            IV.    Statement of Facts
21
     6.    Ulbricht is a practicing Christian who is incarcerated in federal
22

23   prison. Ulbricht sincerely believes, consistent with his Christian faith,
24
     that he is obliged to honor his father and mother.
25

26   7.    This command derives from Exodus 20:12 which states, “Honor
27
     your father and your mother, so that you may live long in the land the
28
     ORIGINAL COMPLAINT - 2
             Case 4:21-cv-00195-DCB   Document 1   Filed 05/05/21   Page 3 of 4



 1   LORD your God is giving you.”
 2
     8.      Ulbricht’s father, Kirk Ulbricht (“Kirk”), lives in Matapalo, Costa
 3

 4   Rica.
 5
     9.      Matapalo is a remote area of Costa Rica.
 6

 7   10.     Ulbricht’s father does not have access to phone or mail because of
 8
     Matapolo’s remoteness.
 9

10   11.     However, Ulbricht’s father does have access to satellite internet.
11
     12.     As such, the only way for Ulbricht to communicate with his father
12

13   is via e-mail.
14
     13.     Ulbricht loves his father very much. Communicating with his
15

16   father is very important to him.
17
     14.     Ulbricht sincerely believes that his inability to communicate with
18

19
     his father is inconsistent with Exodus 20:12.

20
     15.     Without approval from the BOP to use TRULINCS, the only way
21
     Ulbricht can e-mail with his father is by using another inmate’s
22

23   TRULINCS account. Ulbricht, to be clear, does not do this. Doing so
24
     would violate the BOP’s inmate discipline program and subject Ulbricht
25

26   to loss of good conduct time and other sanctions.
27
     16.     Consequently, Ulbricht is in a “catch 22” of sorts—do not
28
     ORIGINAL COMPLAINT - 3
            Case 4:21-cv-00195-DCB    Document 1   Filed 05/05/21   Page 4 of 4



 1   communicate with his father in violation of his sincerely held religious
 2
     beliefs or communicate with his father in violation of the BOP’s rules,
 3

 4   exposing Ulbricht to penalties and sanctions.
 5
                                       Count One
 6

 7   17.   Paragraphs 1-16 are hereby reincorporated as fully set forth
 8
     herein.
 9

10   18.   BOP’s refusal to allow Ulbricht to use TRULINCS to e-mail with
11
     his father violates RFRA.
12

13                               Relief Requested
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     19.   Ulbricht requests the following injunctive relief:
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16   (a)   An order requiring the BOP to allow Ulbricht to use TRULINCS

17
     so Ulbricht may e-mail with his father.
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19
     20.   Ulbricht requests his costs and attorney’s fees.

20   21.   Finally, Ulbricht urges the Court to grant him any and all other
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     relief the Court deems just and fit.
22

23                                   Respectfully submitted,
24
                                     /s/Brandon Sample
25
                                     Brandon Sample
26

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     ORIGINAL COMPLAINT - 4
